              Case 1:19-cv-05244-AKH Document 79 Filed 04/24/20 Page 1 of 4




                          UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
U.S. SECURITIES AND EXCHANGE            :
COMMISSION,
                                        :
               Plaintiff,
                                        :   Civil Action No. 19-cv-5244
       vs.
                                        :
KIK INTERACTIVE INC.,
                                                    :
                     Defendant.
-------------------------------------- X


               DECLARATION OF JULIANNE M. LANDSVIK IN SUPPORT OF
                    DEFENDANT’S OPPOSITION TO PLAINTIFF’S
                   MOTION FOR SUMMARY JUDGMENT (ECF NO. 57)


I, Julianne M. Landsvik, pursuant to 28 U.S.C. § 1746, declare as follows:

         1.       I am an attorney at the law firm of Cooley LLP, counsel for Defendant Kik

Interactive Inc. (“Kik”) in the above captioned action. I am duly admitted to practice before this

Court. I am familiar with the proceedings in this case. I make the following statements based on

personal knowledge of the facts and circumstances set forth herein.

         2.       I respectfully submit this declaration in support of Kik’s Opposition to Plaintiff’s

Motion for Summary Judgement (ECF No. 57) and to transmit true and correct copies of the

following documents:

 Exhibit                                       Document Description

    Z.          Declaration of Samuel Dowd.

  AA.           Declaration of Luc Hendriks.

  BB.           Declaration of Ryan Ramsey.

  BB-1          Email from Ryan Ramsey to counsel for the SEC and Kik, dated February 3, 2020.
       Case 1:19-cv-05244-AKH Document 79 Filed 04/24/20 Page 2 of 4




BB-2     Supplemental Declaration of Ryan Ramsey.

CC.      Declaration of Jay Weatherman.

DD.      Deposition Transcript of Jay Weatherman, dated January 7, 2020.

EE.      Deposition Exhibit 121.

FF.      Article titled “Kik App Debuts Digital Currency Amid Bitcoin Boom,” dated May
         25, 2017, publicly available at https://www.sfchronicle.com/business/article/Kik-
         app-will-offer-digital-currency-amid-bitcoin-11177006.php.
GG.      Article titled “Mobile Messenger Kik Raises $50 Million Ahead of $75 Million
         ICO,” dated August 29, 2017, publicly available at https://www.coindesk.com/
         mobile-messenger-kik-raises-50-million-ahead-75-million-ico.
HH.      William Hinman, Digital Asset Transactions: When Howey Met Gary (Plastic),
         (June 14, 2018), https://www.sec.gov/news/speech/speech-hinman-061418.
II.      Jay Clayton, Statement on Cryptocurrencies and Initial Coin Offerings (December
         11, 2017), https://www.sec.gov/news/public-statement/statement-clayton-2017-12-
         11.
JJ.      Letter from U.S. Congressman Ted Budd, et al., to Chairman Clayton, dated
         September 28, 2018, publicly available at https://budd.house.gov/
         uploadedfiles/budd_davidson_emmer_soto_sec_letter_final.pdf.
KK.      SEC, Framework for ‘Investment Contract’ Analysis of Digital Assets, (April 3,
         2019), https://www.sec.gov/corpfin/framework-investment-contract-analysis-
         digital-assets#_edn1.
LL.      Article titled “What Do We Know About Valerie Szczepanik, the First Crypto
         Czar,” dated June 12, 2018, publicly available at https://cointelegraph.com/news/
         what-do-we-know-about-valerie-szczepanik-the-first-crypto-czar.
MM.      Deposition Transcript of Ilan Leibovich, dated December 19. 2019.

NN.      Hester M. Peirce, How We Howey, (May 9, 2019),
         https://www.sec.gov/news/speech/peirce-how-we-howey-050919.
OO.      Hester M. Peirce, Running on Empty: A Proposal to Fill the Gap Between
         Regulation and Decentralization, (February 6, 2020),
         https://www.sec.gov/news/speech/peirce-remarks-blockress-2020-02-06#_ftnref5.
PP.      Article titled “When it Comes to Analyzing Utility Tokens, the SEC Staff’s
         “Framework for ‘Investment Contract’ Analysis of Digital Assets” May Be the
         Emperor Without Clothes (Or, Sometimes an Orange Is Just an Orange) Part I,”
         dated October 28, 2019, publicly available at https://www.winston.com/en/crypto-
         law-corner/index.html.
QQ.      SEC, Response for Pocketful of Quarters, Inc. (July 25, 2019),
         https://www.sec.gov/corpfin/pocketful-quarters-inc-072519-2a1.




                                           -2-
          Case 1:19-cv-05244-AKH Document 79 Filed 04/24/20 Page 3 of 4




  RR.       SEC, Response for TurnKey Jet, Inc. (April 3, 2019), https://www.sec.gov/
            divisions/corpfin/cf-noaction/2019/turnkey-jet-040219-2a1.htm.
  SS.       Article, “U.S. Risks Falling Behind the World in Embracing Crypto, Warns
            ‘Crypto Mom’ SEC Commissioner,” dated July 16, 2019, publicly available at
            https://www.msn.com/en-us/money/companies/us-risks-falling-behind-the-world-
            in-embracing-crypto-warns-%E2%80%98crypto-mom%E2%80%99-sec-
            commissioner/ar-AAEqI05.
  TT.       Twitter message published by Kin Foundation, dated September 13, 2017.
            Produced at bates KIK_00006208.
  UU.       Twitter message published by Kin Foundation, dated September 13, 2017.
            Produced at bates KIK_00006180.
  VV.       Twitter message published by Kin Foundation, dated September 13, 2017.
            Produced at bates KIK_00006210.
  WW.       Deposition Exhibit 268.

  XX.       Deposition Exhibit 269.

  YY.       Statistics of Kin transactions within certain applications as of April 24, 2020,
            publicly available at https://www.kin.org/stats/.
  ZZ.       Twitter message published by Kin Foundation, dated August 31, 2017. Produced at
            bates KIK_00006881.
  AAA.      Declaration of Luke T. Cadigan.

  BBB.      PowerPoint Presentation titled “Kik & Cryptocurrency,” dated April 2017.
            Produced at bates KIK_00106715.
  CCC.      Email from David Wachsman to Rod McLeod and others, dated September 15,
            2017. Produced at bates KIK_00125522.



I declare under penalty of perjury that the foregoing is true and correct.

Executed on April 24, 20 in Boston, Massachusetts.


                                                           /s/ Julianne M. Landsvik
                                                           Julianne M. Landsvik




                                                 -3-
         Case 1:19-cv-05244-AKH Document 79 Filed 04/24/20 Page 4 of 4




                                CERTIFICATE OF SERVICE

I, Julianne M. Landsvik, hereby certify that a true and correct copy of the foregoing document
was served on counsel of record via ECF on this 24th day of April, 2020.


                                                           /s/ Julianne M. Landsvik
                                                           Julianne M. Landsvik
